
593 S.E.2d 397 (2004)
358 N.C. 158
STATE of North Carolina
v.
John Blaine O'HANLAN.
No. 609P03.
Supreme Court of North Carolina.
February 5, 2004.
David G. Belser, Asheville, for O'Hanlan.
Amy C. Kunstling, Assistant Attorney General, Charles W. Hipps, District Attorney, for State.
Prior report: 153 N.C.App. 546, 570 S.E.2d 751.

ORDER
Upon consideration of the petition filed by Defendant on the 21st day of November 2003 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*398 "Denied by order of the Court in conference, this the 5th day of February 2004."
